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Aiben R. Limberg, Esq. (sBN 21 11 10)
Debbi@ P. Kirl<patrici<, Esq. (sBN 2071 12) *' §1 §§
SEssroNs, Fter\/lAN, NATHAN & IsRAEL, L.L.P. i `
1545 Hotel Circle South, Suite 150
san Diego, CA 92108-3426 \
Tel: 619/758-1891 l ';
Fax; 619/296-2013 `1_ __
alimberg@sesssons-law.biz i §§ '
dkirkpatrick@sessions-law.biz i ` "*

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Attorney for Debt Management, Inc. DBA Capital Recovery Systerns,,

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNTA

Plaintiff, NOTICE OF REMOVAL oF ACTION
vs. UNDER 23 U.s.C. § 1441(3)

DEBT MANAGEMENT, INC. DBA
CAPITAL RECOVERY SYSTEMS,

Defendant.

 

TO THE CLERK OF TI-IE ABOVE-ENTITLED COURT:
PLEASE TAKE NOTICE THAT defendant Debt Managernent, Inc. dba
Capital Recovery Systerns, ("DMI") hereby removes to this Court the state court
action described below.
1. This action is a civil action of Which this Court has original
jurisdiction under 28 U.S.C. § 1331, and is one Which may be removed to this

Notice of Removal of Action

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Case 2:12-cV-09843-I\/|WF-P.]W Document 1 Filed @© flagg lf_of 12 Page |D ¢`#:3
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er ROGERS,IR., CML! 9 8a z g PF(/Li‘):\

 

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Court by defendant pursuant to the provisions of 28 U.S.C. § 1441(21) in that it
arises under the F air Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq.
2. On or about October 9, 2012 the action Was commenced in the
Superior Court of the State of California, for the County of Los Angeles, entitled
Zz'm Rogers, Jr. v. Debz‘ Management, Inc. dba Capital Recovery Systems, Case No.
12B01967. A copy of the Plaintift’s Surnmons and Complaint (“Complaint”) is
attached hereto as Exhibit A.
3. The date upon Which DMI first received a copy of the said Complaint
was October 19, 2012, When DMI Was served with a copy of the Complaint.
Dated: 11/14/12 SEssloNs, FISm\/LAN, NATHAN & ISRAEL, L.L.P.

WWW\

Debbie P. Kirkjsamck 1
Attorney for Defendant
Debt Management, Inc. dba
Capital Recovery Systems

Notice of Removal of Action

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Case 2:12-cV-09843-I\/|WF-P.]W Document 1 Filed11/16/12 Page 3~of 12 Pag.elD #:5

.Exhibit A '

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Todd M. Friedman (216752)
Nicholas J. Bontrager (252114)

Suren N. Weerasuriya (278512)

Law Offiees of Todd M. Friedman, P.C.
369 S. Doheny Dr. #415

Beverly Hills, CA 90211

Pbone: 877~206-4741

Fax: 866~633-0228
tfriedman@attorneysforconsumers.com
nbonn'ager@attorneysforconsumers.com
l sweerasuriya@attorneysforconsumers. com
‘ Attorneys for Plaintiff

 

10 FOR THE COUNTY OF LOS ANGELES
n j - LIMITED JURISDICTION
12 ) Case No. 12B01967
)
13 ZlM ROGERS, JR., ) FIRST AMENDED COMPLAIN FOR
) VIOLATION
14 Plainrra¢ ) oF RosENTHAL FAIR DEBT
15 ) COLLECTION PRACTICES ACT AND
Vs. ) FEDERAL FAIR DEBT COLLECTION
15 ) PRACTICES ACT
DEBT LMNAGEMENT, INC. DBA . )
CAPITAL RECOVERY SYS‘TEMS ) (Amount not to exceed $10,000)
)
Defendant. ) 1. Violation of Rosenthal Fair Debt
) Collection Practices Act
) 2. Violation ofFair Debt Collecu'on

Practices Act

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deceptive, and unfair practices

Firse Amendcd Complaint - l

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II. PARTIES

2. Plaintiff, Zim Rogers, lr. (“Plaintiff"), is a natural person residing in Los

' Angeles county in the state of Califomia, and is a “consumer” as defined by the FDCPA, 15

U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ Code §1788.2(11).

 

 

 

 

 

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3. At all relevant times hercin, Defendant, Debt Management, Inc. DBA Capital
Recovery Sysrems, C‘Defendant" hcrein) was -a company engaged, by use of the mails and
telephone, in the business of collecting a debt from Plaintiff which qualifies as a “debt,” as
defined by 15 U.S.C. §ldQZa(S), and a “consumer debt,” as defined by Cal Civ `Code
§1788.2(1). Defendant CRS regularly attempts to collect debts alleged to be due another, and
therefore is a “debt collector” as deEned by the FDCPA, 15 U.S.C. §16928.(6), and RPDCPA,
Cal Civ Code §1788.2(c).

IlI. FACTUAL ALLEGATIONS

 

 

 

4. At various and multiple times prior to the filing of the initial complaint,

including within the one year preceding the filing of the initial complainta Defendant contacted

 

 

 

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.Pla.intiff in an attempt to collect an alleged outstanding debt, Defendant called Plaintift` on his

horne phone number of (626) 858-281 5.

6. Dcfendant contacted Pla.inti&` for a debt that belongs to his father. Plainti&` has
havised barendani on riun§ereus sessions that the debt is net his Derendaiirhas told i>iainsrr
that it does not matter that the debt does not belong to Plaintiff. Defendant has threatened to
sue Plaintii`f despite Plajntiff’s repeated insistence that the debt is not his.

7. Defendant has not given Plaintit"f anything in writing regarding the alleged debt.

Defcndant has called Plaintiff repeatedly even after Plaintiff has told them to stop.

Firs! Amended Complaint ~ 2

 

 

 

 

 

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Case 2:12-cV-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 6 of 12 Page |D #:8

'_,..

l 8. Defendant’s conduct violated the FDCPA and the RFDCPA in multiple ways,
including but not limited to:

a) Using unfair or unconscionable means against Plaintift` in
4 connection with an attempt to collect a debt (§1692£));

‘b) Ccllecting an amount from Plaintiii' that is not expressly
authorized by the agreement creating the debt (§1692f(l));

c) Collecting an amount from Plaintiff that is not permitted by law
8 (§1592£(1)); ~

 

 

 

 

 

 

 

 

 

 

9 d) Engaging in conduct the natural consequence 'of which is` to
10 harass, oppress, or abuse Plaintit`f (§1692d));
n n e) Falseiy representing or implying that nonpayment of Plajndft`s
12 debt would result in the seizure, gamishment, attachment or sale
of Plainti£t"s property or wages, where such action is not lawful
13 or Defendant did not intend to take such action (§1692e(4));
w t) 'I'hreatening to take an action against Plaintiff that cannot be
15 legally taken or that was not actually intended to be taken
(§ 1692¢(5));
15
g) 'l`hreatening Plainti&` that nonpayment cf Plaintiff's debt may
17 result in the arrest of P 'ntift` or the seizure, garnishment
18 attachment or sale of any property or the garnishment or
‘ . attachment of wages of Plaintiff, where such action Was not in -
19 fact contemplated by the debt collector and permitted by the law
20 (Cal Civ Code §1788.10(e));
21 h) _Threatening to take an action against Plaintiff that is prohibited _____
` ‘ by §1788 of the Califomia Civil Cocle (Cal Civ Code
32 §l788.10(f));
23 i) Falsely representing that a legal proceeding has been, is about to
24 be, or will be instituted unless payment of a consumer debt is
made (Cal Civ Code §1788.136));
25
26 j) Communicating with Plaintift` at times or places which were
known or should have been known to be inconvenient for
27 Plaintiff (§1692c(a)(l)); -
33 k) Repeatedly making telephone calls to PlaintiE in connection with
collection of a debt allegedly belonging to someone else, and
First Amended Complaint - 3

 

 

 

 

 

 

 

Cas‘e 2:12-cv-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 7 of 12 Page |D #:9

l ' consistently refining to stop this behavior after numerous
requests by Plaintiii` (§1692d));

3 9. As a result of the above violations of the FDCPA and RFDCPA, Plaintift`

4 suffered and continues to suffer injury to Plaintift’s feelings, personal humiliation,

 

embarrassment mental anguish and emotional distress, and Det`endant is liable to Plainu‘ff for
Plainti§’s actual damages, statutory damages, and costs and attorney’s fees.

COUNT I: VIOLATION OF ROSENTHAL
FAlR DEBT COLLEC’I’ION PRACTICES ACT

10. PlaintiH`reincorporates by reference all of the preceding paragraphs

 

 

 

10

ll 11. 'l`o the extent that Det`endant’s actions, counted above, violated the RFDCPA,

12 those actions were done knowingly and'wilifully.
13 PRAYER FOR R.ELIEF

WI-IEREFORE, Plaintiff respechlly prays that judgment be entered against Defendant
15
16 CRS and Defendant Ford for the following:
Actual damages;

Statutory damages for willful and negligent violations;
Costs and reasonable attorney’s fees; and

Fcr such other and farther relief as my be just and proper.

. cOUNT II= vloLATroN 0F FAIR DEBT
20 COLLECTION PRACTICES ACT

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1'5. Plaintiff rcinccrporates by reference all of the preceding paragraphs "‘

 

 

 

 

PRAYER FOR RELIEF
WH.EREFORB, Plaintift` respectfully prays thatjudgmcnt be entered against Dcfendant

25 for the following:
26 Actual damages;

Statutory damages;

Cost.s vand reasonable attorney’s fees; and,

For such other and further relief as may be just and proper.

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First Ameoded Complaint - 4

 

 

 

 

 

 

Case 2:12-cv-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 8 of 12 Page |D #:10

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PLAINTIFF HEREBY REQUESTS A TRIAL BY J'URY
Respectfully submitted this 3rd day of O tober, 2012.

   

By:

 

/
T d M. Fz§zsdm/n, Esq.

Attomey for Plaintiff

Eirst A.mcndcd Complaint - 5

J£W Offices of'I`odd M. Friedman, P.C.

 

 

 

 

 

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Case 2:12-CV-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 9 of 12 Page |D #:11

 

 

 

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(CITACION JUDICIAL) coNFORMED cozrir
NOTICE TO DEFENDANT: OF ORlGlNAL FILElJmt
(Avrso AL DEMANDADo).- 1~°3 A"H°‘” s“P""°"""’
DEBT MANAGEMENT, INC. DBA CAPITAL RECOVBRY
SY.sTF.Ms ~ ‘ DCT 1 l 2012
You ARE BE\NG suED BY PLArNTlFF:
(r.o Es'rA DEMANoANoo EL DEMANDA~TE;.- dunn A. market Exewl\v¢ Ofll@°'ic"""
zMRoGBRs, m . M, n»
NOTICEI You have been sued. The court may decide ogolnst you without your being heard unless you respond within 30 days. Read the infonna‘lbn

 

helow.
ch have 30 CALENDAR DA¥S alter lhis summons and legal papers are served on you to llie a written response at this court and have a copy

served on the pialntiff. A letter or phone call will not protect you. Your written response must ha tn proper legal form ll you wanl the court to hear your
cese. There may be a court form that you can use for your response You can lind mesa court forms end more information at the Callfomis Cou~rrs
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may be taken without further warning from the court

There. are other legal requirements You may want to call an ailemey right away. lf you do not know on alrorney. you may wanton call an anomey

referral servlcc. if you cannot allard an attorney, you may he eligible forfree legal servi¢zs from a nonprofit legal seMoas`prograrr\. Ycu can locals
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(mvw.courtinfo.ca.gov/sollhe!p). or by oontacling your local court or county bar association NOTE: The court has a statutory lion for waived feesand
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West Covina, CA 91790

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(DF';:,':;) UCT 1 l 2012 E)cemtx'va Ol?lcar ?s|:';r"@?:no) _L DEPUTY CLEFiK ’g;;::}‘o)

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{Para_prusba de enrroga de csra citation use el forrnulan'o Prool of Serv!ce of Summons, (POS-o'ro)}. »
NOT|CE TO THE PERSDN SERVED: You are served

gm 1. as an individual defendant
' 2. [:] as the person sued under the fictitious name of (speclfy):

3, l:l on behalf of (speclfy):

unden ccP 416.1o(corpora€on) 1:| ccP 416.60 (mlnor)
[:] ccP 416.2o(defuno1 oorpmauon) ]:| cce 416.70 (mnsewawe)
|:| CCP 416.40 (associallon cr partnership} § CCF’ 416,90 (aul.horlzed person)

m other (specr’fy):
4. [:] by personal delivery on (date):

 

 

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Case 2:12-cV-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 10 of 12 Page |D

CASE NAl\/[E: Zim Rogers, Jr. v. Debt Management, lnc. dba Capital Recovery Systems
CASE NO:

PROOF OF SERVICE
I, the undersigned, hereby certify th_at 1 am a citizen of the United States, over the age of
18 years a_nd not a Spar%_to the within action; my business address is 1545 Hotel Circle
South, Suite 150, an lego, Cahfornia 92108. On this date I served the following:
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441 (a)
( x) BY U.S. MAIL
I served a true and correct copy of the above-named documents by mail by lacing

the U.S. mail at San Diego, California.
hereafter:

( ) BY FACSIM]LIE MACHINE
1 caused to be transmitted by facsimile machine a true copy cf the above-named

documents to the below 1i_sted. Attached hereto is the Confirmation Report confirming
the status of the transmission

aid envelope(s) was/were addressed as listed

( ) BY COUR'I"S CM/ECF ELECTRONIC FILING SERVER

I served on the interested parties in this action through their attomey’s, as stated
below, Who have agreed to accept electronic service in this matter, by electronically filing
and serving said documents via the Court’s CM/ECF electronic filing server.

Todd Friedman, Esq.

Law Offlces of Todd M. Friedman, P.C.
369 South Doheny Dr. #415

Beverly Hills, CA 90211

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Dated: November14, 2012 C,_\ \v/°\`/\ (n'\%

Ann M. Coito

 

the same in a sealed envelope with posta§e fully prepaid, and depositing said enve ope in .

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j- Céise 2:12-cv-09843-I\/|WF-P.]W Documentl Filed 11/16/

Page |D #:13

UNITED STATES DISTRICT COUR'I`, CENTRAL DISTRlCT OF CALIFORNIA
CIVIL COVER SHEET

1 (a) PLAlN'I'IFFS (Check box if you are representing yourself El)

Zim Rogers, Jr.

DEFENDAN'I`S

Debt Management, Inc. dba Capital Recovery Systems

 

(h) Attomeys (Firrn Narne, Address and Telephone Number. lf you are representing

yourself, provide same.)

Todd Friedman, Esq. Tel. 877-206-4741
369 South Dohney Dr. #415, Beverly Hills, CA 9021 1

 

Attomeys (If Known)
Debbie P. Kirlcpatrick, Esq.
Sessions Fishman Nathan & Israel, LLP
1545 Hotel Circle South, Suite 150
San Diego, CA 92108

Tel: 619-758-1891

 

II, BAS!S OF JURISDICI`ION (Place an X in one box only.)

511 3 i=ederai Qnesnon (u.s.
Government Not a Party)

Cl l U.S. Govemment Plaintiff

Cl 2 U.S. Govemment Defendant 111 4 Diversity (1ndicate Citiz.enship

of Parties in Item IlI)

 

III. CIT[ZENSH[P OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citimn of This State

Citizen of Another State

PTF
l]l

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Citizen or Subject of a Foreign Country El 3

DEF
Cl 1

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PTF DEF
lncorporated or Principal Place Cl 4 El 4
of Business in this State
incorporated and Principal Place 13 5 E| S
of Business in Another State
Foreign Nation 111 6 13 6

 

IV. ORIG[N (Place an X in one box only.)

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Proceeding State Court Appellate Court

52 Removed from El 3 Remanded from Cl 4 Reinstated or 111 5 Transfen'ed from another district (specify): El 6 Multi-
Reopened

V. REQUESTED IN COMPLAIN'I`: JURY DEMAND: chs 13 No (Check "Yes’ only if demanded in complaint.)

CLASS AC'I'ION under F.R.C.P. 237 Cl ‘{es 1{No

l:| MONEY DEMANDED IN COMPLAINT: $

U 7 Appea] to District
Judge from
Magisu'ate .ludge

District
Litigation

VI. CAUSE OF ACI'ION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

15 U.S.C.51692, et seq.
VII. NATURE OF SUIT (Place an X in one box only.)

 

    

    

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

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Rates/etc. Cl 150 Recovery of n 320 Assa"'l, Lib°l & C| 380 Other Personal 121 530 General ['_`1 730 Labor/Mgmt.

El 460 Deportation Overpaymenr & Sl°“d" v Propcrty Damage El 535 Death Pena|ty Reporting &.

El 470 Racketeer lnfluenced Enforcement of n 330 FFd' _Ejmpl°y°rs l:l 385 Property Darnage D 540 Mandamus/ Disclosure Act
and Corrupt Judgment n 340 lh;;°t’,'l‘ty Produc_t 1_.iability Other 13 740 Railway Labor Act
Organizations El 151 Medicare Act n 345 Mar§“e P d t BANKRUP'I`CY |Il 550 Civil Rights 111 790 Other Labor

d480 Consumer Credit lIl 152 Recovery of Defaulted Li::i';: r° uc 111 422 Appeal 28 USC ij 555 ilfrison*§ondi '0n Litigation

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El 891 Agricultural Act 13 195 Contract Product 13 365 personal injury. mmodations Property 21 USC

El 892 Economic Stabilimtion Liability Product Liability Cl 444 Welfare 881 E| 862 Black Lung (923)
Acr Franchise 121 368 Asbestos Personal Cl 445 American with El 630 Liquor Laws El 863 DlWC/DIWW

l:| 893 Environmental Matters ; REAL PROPERTY _ _ Injury Product Disabilities - El 640 R.R & 'I`mck (405(g))

Cl 894 Energy Allocation Act El 210 Land Condemnatinn ` Liab_ility Employment El 650 Airline Regs D 864 SSID Title XVl

Cl 895 Freedom of Info. Act El 220 Foreclosure ' 7: I?\'iMIGRATlON`- '.' Cl 446 American with 1'_`1 660 Occupational l_:| 865 BSl (405(g))

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Actions
FOR OFFICE USE ONLY: CaseNumber. c a l z ` § 8 I

 

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AF!'ER COMPLETING 'I'HE FRONT SIDE CF FORM CV-7l, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-7l (05/08)

CIVIL COVER SHEET

Page 1 of 2

f Ca’Se 2:12-cv-09843-I\/|WF-P.]W Document 1 Filed 11/16/12 Page 12 of 12 Page |D #:14

l,
UNITED STATES DIS'I`RICT COURT, CENTR.AL DlSTRICT_ OF CALIFORNIA
CIVIL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? leo El Yes
lf yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? dNo |Il \’es
If yes, list case number(s):

 

Civll cases are deemed related if a previously filed case and the present case:
(Clieck all boxes that apply) E| A. Arise from the same or closely related transactions, happenings, or events; or
L`.l B. Call for determination of the same or substantially related or similar questions of law and fact; or
|J C. For other reasons would entail substantial duplication of labor if heard by different judges; or
|Il D. Involve the same patent, trademark or copyright Ld one of the factors identified above iri a, b or c also is present

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this Disuict; Califomia County outside of this Distn`ct; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
Cl Check here if the government, its agencies or employees is a named plaintiff If` this box is checked, go to item (b).

 

County in this Distr'ict:’ Califomia County outside ofthis District; State, if other than Ca|if`omia; or Foreign Country

 

Los Angeles County

 

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
3 Check here if the govemment, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this District" Calit°omia County outside of this Disiriet; State, if other than Caiifomia; or Foreign Country

 

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(c) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

 

County in this District:* Califomia County outside of this Distn`ct; Statel if other than Califomia', or Foreign Country

Los Angeles County

 

 

 

* Los Angeles, Oraoge, San Bernardino, Riverside, Ventura, Santa Barbara, o n Luis Obispo Counties

Note: ln land condemnation cases use the location of the trac o ' volved /-\ /3'\ 17 / /
X. SIGNATURE OF A'I'I`ORNE‘( (OR PRO PER): / ate /r,// / j /L

 

 

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Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conf`erence of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose ofstatistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substarrtive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under ‘I`itle 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 u.s.c. i9351=i=(h))

862 BL Al| claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Titlc 2 ol` the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based orr disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of` the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S.C. (g))

 

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